UNITED STATES OF AMER{CA

GARY RONALD MORRIS

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NORTHERN I)ISTRICT OF TEXAS
DALLAS DIVISION

CASE NO.: 31 l S-CR-OOZZZ-S

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ORDER ACCEPTING REPOR'I` AND RECOMMENDATION OF THE
UNI'I`ED STATES MAGISTRATE JUDGE CONCERNING PLEA OF GUILTY

After reviewing atl relevant matters of record, including the Notice Regarding Entry of a Plea of Guiity, the Consent

of the det`endant, and the Report and Recomlnendation Concerning Ptea of Guilty of the United States Magistrate .ludge,
and no objections thereto having been filed within fourteen days of service in accordance with 28 U.S.C. § 636(1))(§), the
undersigned District fudge is of the opinion that the Repoit and Recommendation of the Magistrate judge concerning the
Plea of Guilty is correct, and it is hereby accepted by the Court, Accordingly, the Court accepts the plea of guiity, and
GARY RONALD MORRES is hereby adjudged guilty of 18 U.S.C. § 1343, Wire Fraud. Sentence wilt be imposed in
accordance with the Court‘s scheduiing order.

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SIGNED thts,.'Z/S"‘ day of uly, 2018.

The defendant is ordered to remain in custody.

The Court adopts the findings ofthe United States Magistrate Judge by clear and convincing evidence that the defendant is not
likely to flee or pose a danger to any other person or the community if released and shouEd therefore be released under § 3142(b)
or (c).

Upon motion, this matter shall be set for hearing before the United States Magistrate fudge who set the conditions ofrelease
for determination, by clear and convincing evidence, of whether the defendant is likely to flee or pose a danger to any other
person or the community if released under § 3142(b) or (c).

The defendant is ordered detained pursuant to l8 U.S.C. § 3143(a)(2). The defendant shall self-surrender to the United States
Marshai no later than .

 

The defendant is not ordered detained pursuant to 18 U.S.C. § 3 l¢i$(a)(Z) because the Court finds

l:l There is a substantial likelihood that a motion for acquittal or new trial will be granted, or
§ The Government has recommended that no sentence of imprisonment be imposed, and
fl This matter shail be set for hearing before the United States Magistrate Judge who set the conditions of release for

determination, by clear and convincing evidence, of whether the defendant is likely to flee or pose a danger to any
other person or the community if released under § 3142(b) or {c).

The defendant is not ordered detained pursuant to 18 U.S.C. § 3143(a)(2) because the defendant has filed a motion alleging
that there are exceptional circumstances under § 3145(c) why he/she should not be detained under § 3143(a)(2). This matter
shall be set for hearing before the United States Magistrate Judge who set the conditions of release for determination of whether
it has been clearly shown that there are exceptionat circumstances under § 3145(€) why the defendant should not be detained
under § 3143(a)(2), and whether it has been shown by clear and convincing evidence that the defendant is likely to flee or pose
a danger to any other person or the community if released under § 3142(b) or (c).

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